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                                     U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York
                                                      86 Chambers Street
                                                      New York, New York 10007


                                                      January 2, 2018




VIA ECF and BY HAND
Hon. Gabriel W. Gorenstein
United States Magistrate Judge
United States District Court
500 Pearl Street
New York, New York 10007

       Re:     ACLU v. Dep’t of Health and Human Services, et al.,
               No. 17 Civ. 5514 (GBD) (GWG)

Dear Judge Gorenstein:

        This Office represents defendants the Department of Health and Human Services, the
Department of Justice, the Department of Labor, and the Department of the Treasury in the
above-referenced proceeding brought pursuant to the Freedom of Information Act, 5 U.S.C.
§ 552 et seq. Having consulted with counsel for plaintiff, we respectfully submit this letter
pursuant to the Court’s order dated November 2, 2017, which directs the parties jointly to report
on the status of this matter every sixty days, beginning today. See ECF No. 27.

        Department of Health and Human Services (“HHS”): On December 28, 2017, HHS
notified plaintiff that it had located 351 pages of responsive records, of which it was releasing
145 in full and 84 pages with redactions, and was withholding 122 pages in their entirety.1 The
pages that were released in full and in part were sent to plaintiff in electronic format by overnight
delivery. HHS is continuing to search for responsive records.

        Department of Justice (“DOJ”): On December 15, 2017, the DOJ Civil Division
provided plaintiff with a no-records response. Plaintiff has indicated that it does not intend to
challenge this response. Today, DOJ’s Civil Rights Division released 127 pages of records to
plaintiff in response to the request. DOJ’s Office of Information Policy (“OIP”) is processing the
FOIA request for the Offices of the Attorney General, Deputy Attorney General, Associate
Attorney General, Legislative Affairs, and Legal Policy (“OLP”). The search of OLP is still
ongoing; however, all other searches being conducted by OIP are complete. While the OLP
search is still pending, OIP has started to process records to determine responsiveness and the
possible exemptions that may apply to these records. OIP anticipates that its search of OLP will
be completed by the date set for the next status report (i.e., March 5, 2018). DOJ’s Office of

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 HHS’s initial release was previously anticipated to be made in mid to late November but was
delayed for further internal review.
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Legal Counsel (“OLC”)’s search also is still pending. OLC anticipates that it will be able to
complete the search by the date set for the next status report.

        Department of Labor (“DOL”): DOL has determined that responsive records, if any,
would likely be located in the Office of the Solicitor (“SOL”) and the Employee Benefits
Security Administration (“EBSA”), and thus has searched these two components. SOL has
reported that it has no records. EBSA is continuing its search. Plaintiff subsequently has
requested that DOL also search the Office of Federal Contract Compliance Programs. The
parties are discussing whether they can agree on search terms for that additional search. DOL
anticipates that these searches will be completed by the date of the next status report. While the
timing for processing any responsive records will depend on volume, the parties anticipate that
the preliminary results of these searches will allow them to discuss possible ways to streamline
processing with respect to any responsive records.

        Department of the Treasury (“Treasury”): Treasury’s initial search yielded no responsive
records. After further discussion between counsel for both sides, plaintiff provided suggested
search terms and Treasury is conducting a targeted follow-up search.

       Pursuant to the Court’s November 2 Order, the parties will provide a status update on or
before March 5, 2018.

                                                     Respectfully submitted,

                                                     JOON H. KIM
                                                     Acting United States Attorney
                                                     Southern District of New York

                                               By:    s/ Michael J. Byars
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